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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                            )
NANCY GIMENA HUISHA-HUISHA, et al.;         )
                                            )
Plaintiffs,                                 )
                                            )
v.                                          )
                                            )
ALEJANDRO MAYORKAS, Secretary of Homeland ) No. 21-cv-00100-EGS
Security, in his official capacity, et al., )
                                            )
Defendants.                                 )

               INDEX OF EXHIBITS IN SUPPORT OF PLAINTIFFS’
              MOTION FOR CLASSWIDE PRELIMINARY INJUNCTION

Declaration                  Accompanying Exhibits (If Any)

Declaration of Ming Cheung   Exhibit A - Act of February 15, 1893, ch. 114, § 7, 27
                             Stat. 449

                             Exhibit B - Executive Order No. 5143, Restricting for
                             the Time Being the Transportation of Passengers from
                             Certain Ports in the Orient to a United States Port (June
                             21, 1929)

                             Exhibit C - Regulations Governing the Embarkation of
                             Passengers and Crew at Ports in China and the Philippine
                             Islands and Their Transportation to the United States
                             Ports Prescribed in Accordance with Executive Order
                             Approved June 21, 1929 (July 11, 1929), included in
                             Conn. Dep’t of Health, Connecticut Health Bulletin, vol.
                             43, no. 9, 324-326 (Sept. 1929)

                             Exhibit D - U.S. Dep’t of Treasury, Quarantine
                             Restrictions Upon Immigration to Aid in the Prevention
                             of the Introduction of Cholera into the United States
                             (Sept. 1, 1892) (circular), included in Abstract of
                             Sanitary Reports, vol 7, no. 36, 445 (Sept. 2, 1892)

                             Exhibit E - U.S. Customs & Border Protection, COVID-
                             19 CAPIO Memorandum




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                                 Exhibit F - U.S. Customs and Border Protection,
                                 Nationwide Enforcement Encounters: Title 8
                                 Enforcement Actions and Title 42 Expulsions, (last
                                 updated Jan. 7, 2021)

                                 Exhibit G - ICE Juvenile Coordinator Report, filed in
                                 Flores v. Rosen, No. 85-cv-04544 (C.D. Cal Jan. 19,
                                 2021), ECF No. 1064-1

                                 Exhibit H - CBP Juvenile Coordinator Report, filed in
                                 Flores v. Rosen, No. 85-cv-04544 (C.D. Cal Jan. 15,
                                 2021), ECF No. 1060-1

                                 Exhibit I – U.S. Immigration and Customs Enforcement,
                                 COVID-19 ICE Detainee Statistics (updated Jan. 11,
                                 2021)

 Declaration of Public Health    Exhibit A – Sharmila Shetty curriculum vitae
 Experts
                                 Exhibit B – Stephen Patrick Kachur curriculum vitae

                                 Exhibit C – Leslie F. Roberts curriculum vitae

                                 Exhibit D – Bradley A. Woodruff curriculum vitae

 Declaration of Javier Hidalgo   N/A

 Declaration of Allison Herre    N/A

 Declaration of Lisa Frydman     N/A

 Declaration of Linda Corchado   N/A

 Declaration of Taylor Levy      N/A


Dated: February 5, 2021                   Respectfully submitted,

                                              /s/ Lee Gelernt________________
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                                              Immigrants’ Rights Project
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